     Case: 1:23-cv-14798 Document #: 31 Filed: 12/14/23 Page 1 of 2 PageID #:1303


                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DAVID LOZEAU,

       Plaintiff,                                       Case No.: 1:23-cv-14798

v.                                                      Judge Robert W. Gettleman

THE PARTNERSHIPS AND UNINCORPORATED                     Magistrate Judge Keri L. Holleb Hotaling
ASSOCIATIONS IDENTIFIED ON SCHEDULE
“A”,

       Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                    DEFENDANT
                3                                        fish cc


DATED: December 14, 2023                            Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    33 W. Jackson Blvd., #2W
                                                    Chicago, Illinois 60604
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                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:23-cv-14798 Document #: 31 Filed: 12/14/23 Page 2 of 2 PageID #:1304


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on December 14, 2023 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
